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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:07CR375
                                                )
                       Plaintiff,               )
                                                )
               V.                               )                      ORDER
                                                )
EDWIN GUEVARA-PINEDA,                           )
                                                )
                       Defendant.               )

       This matter is before the Court on Defendant Edwin Guevara-Pineda’s Motion to

Disclose Identity of Confidential Informant(s) and to disclose the confidential informant’s

criminal records. The Plaintiff represents in its trial brief that “CS 1" will testify at trial, and

that “his criminal history and record and amount of payment is being provided to the

defense as Brady material.” (Filing No. 25, p. 2).

       IT IS ORDERED that the remaining issues presented in the Motion to Disclose

Identity of Confidential Informant(s) (Filing No. 24) will be considered at the pretrial meeting

to be held in chambers commencing at 8:30 a.m., on December 18, 2007.


       DATED this 12th day of December, 2007.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge
